Case 4:21-cv-00607-ALM Document 53-2 Filed 04/24/23 Page 1 of 3 PageID #: 1449




                   EXHIBIT 2
Case 4:21-cv-00607-ALM Document 53-2 Filed 04/24/23 Page 2 of 3 PageID #: 1450
                                        EXHIBIT 2

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 TALIA N. HARRISON,

                Plaintiff,

        vs.                                          Civil Action No. 4:21-cv-607-ALM

 TYLER TECHNOLOGIES, INC.,

                Defendant.


                      SECOND DECLARATION OF MATTHEW W. HERRINGTON

Attorney Matthew W. Herrington hereby submits his declaration, pursuant to 28 U.S.C. § 1746,

in support of Plaintiff Talia Harrison’s Motion for Award of Attorney’s Fees and Costs Pursuant

to the Fair Labor Standards Act.

1.     My name is Matthew W. Herrington. I am over the age of twenty-one (21) and suffer

       from no legal disabilities. I make the following Declaration based on my personal

       knowledge as well as the contemporaneous business records of my firm.

2.     During the litigation of Plaintiff Talia Harrison’s overtime claim against Defendant Tyler

       Technologies, Inc., I was aware that Ms. Harrison had worked for Tyler in two distinct

       but related positions.

3.     As Ms. Harrison has previously testified to, the work she performed in her second

       position as Implementation Analyst was the very same work she had been performing in

       her previous position as Project Manager. The primary—and possibly only—difference

       was that she no longer had supervisory duties for an Implementation Consultant, and she

       no longer needed to bill directly to client cases or regularly travel to client worksites. But




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Case 4:21-cv-00607-ALM Document 53-2 Filed 04/24/23 Page 3 of 3 PageID #: 1451




       the day-to-day of the work she performed was no different than 50% of the work she had

       previously performed in her role as a Project Manager.

4.     Because these positions were so similar and the duties overlapped in every relevant way,

       it was not necessary for me to conduct significant additional discovery or additional legal

       research as to the Implementation Analyst position. The work that Ms. Harrison

       performed in that position was completely subsumed within her duties as a Project

       Manager. Every aspect of her job duties as Implementation Analyst was also relevant to

       her duties as a Project Manager.

5.     I spent no substantial additional time working on this case as a result of the fact that

       Plaintiff worked in two positions during the course of her employment, other than the

       small amount of time it took to brief a few additional paragraphs in Plaintiff’s response to

       Defendant’s Summary Judgment Motion.

6.     No job duties related solely to Plaintiff’s position as Implementation Analyst and thus the

       overwhelming majority of the work on this case would have been performed identically

       whether or not she had worked in multiple positions.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: April 20, 2023

                                                      s/ Matthew W. Herrington
                                                      Matthew W. Herrington
                                                      Georgia Bar No. 275411




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